Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 1 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 2 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 3 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 4 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 5 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 6 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 7 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 8 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 9 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 10 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 11 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 12 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 13 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 14 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 15 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 16 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 17 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 18 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 19 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 20 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 21 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 22 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 23 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 24 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 25 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 26 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 27 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 28 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 29 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 30 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 31 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 32 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 33 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 34 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 35 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 36 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 37 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 38 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 39 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 40 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 41 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 42 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 43 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 44 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 45 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 46 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 47 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 48 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 49 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 50 of 51
Case 8:22-bk-12112-MH   Doc 23 Filed 01/13/23 Entered 01/13/23 14:17:00   Desc
                        Main Document    Page 51 of 51
